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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                    : MDL NO. 2740
 PRODUCTS LIABILITY LITIGATION                  :
                                                :
                                                :
 THIS DOCUMENT RELATES TO:                      :
                                                : CASE NO.: 2:17-CV-00348-KDE-MBN
 CHRISTINE AND JIM KINDERDINE,                  :
                                                : HON. JANE TRICHE MILAZZO
                        Plaintiffs,             :
                                                :
         v.                                     :
                                                :
 ACCORD HEALTHCARE, INC.,                       :
                                                :
                        Defendant.



     BRIEF IN SUPPORT OF DEFENDANT ACCORD HEALTHCARE, INC.’S MOTION
           FOR SUMMARY JUDGMENT BASED UPON JUDICIAL ESTOPPEL

I.      INTRODUCTION

        Plaintiff Christine Kinderdine (“Ms. Kinderdine”), under penalty of perjury, affirmatively

misrepresented in the United States Bankruptcy Court for the Southern District of Ohio (the

“Bankruptcy Court”) the existence of her claim against Accord Healthcare, Inc. (“Accord”), even

though she filed the instant lawsuit against Accord during the pendency of her bankruptcy.

Because Ms. Kinderdine had a statutory obligation to disclose her lawsuit to the Bankruptcy

Court but failed to do so, this Court should follow clear Fifth Circuit precedent and find that Ms.

Kinderdine is judicially estopped from pursuing the instant action as a matter of law. Because

Ms. Kinderdine’s primary claim fails, her husband Jim Kinderdine’s derivative loss of

consortium claim must fail as well under applicable Ohio law.
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II.      STATEMENT OF FACTS

         Plaintiffs are residents of Dayton, Ohio. See Ex. A, Pl. Fact Sheet § I.16, p. 2 (March 4,

2017) (“PFS”). In the fall of 2016, Ms. Kinderdine’s father, a medical malpractice attorney, told

Ms. Kinderdine about potential legal claims regarding Taxotere®/docetaxel after seeing a

television commercial advertising the litigation. Ex. B, Dep. of Christine Kinderdine

(“Kinderdine Dep.”) Tr. 12:11-14, 23:3-7. Once Ms. Kinderdine confirmed with her doctor that

she received docetaxel during her chemotherapy treatments, she and her father consulted with

several different attorneys to discuss her claim and ultimately chose and retained Ms.

Kinderdine’s current legal counsel. Kinderdine Dep. Tr. 24:1-21. At around the same time, Ms.

Kinderdine began experiencing financial difficulty and filed for Chapter 7 bankruptcy. Ms.

Kinderdine filed her bankruptcy petition (the “Petition”) in the United States Bankruptcy Court

for the Southern District of Ohio on November 3, 2016. See Ex. C, Bankruptcy Petition, In re

Christine A. Kinderdine, No. 3:16-bk-33425, Dkt. No. 1 (S.D. Ohio Nov. 3, 2016). Schedule

A/B: Property, Part 3 of the Petition, requires the debtor to list ownership of any legal or

equitable interest in the items detailed. In response to question “33. Claims against third parties,

whether or not you have filed a lawsuit or made a demand for payment (Examples: Accidents,

employment disputes, insurance claims, or rights to sue),” Ms. Kinderdine responded “No.” See

id. at 14.

         On January 13, 2017, while her Petition was pending before the Bankruptcy Court,

Plaintiffs filed the instant action against Accord alleging failure to warn, misrepresentation,

negligence, negligent misrepresentation, fraudulent concealment, fraud and deceit, and loss of

spousal consortium. See Short Form Compl. ¶ 13, Dkt. No. 5. Despite her ongoing duty to

disclose all assets during the pendency of her Chapter 7 proceeding, Ms. Kinderdine never

amended her Petition to disclose this action. See Ex. D, Bankruptcy Docket, In re Christine A.

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Kinderdine, No. 3:16-bk-33425 (S.D. Ohio Nov. 3, 2016). On April 13, 2017, the Bankruptcy

Court entered an Order of Discharge and closed Ms. Kinderdine’s bankruptcy proceeding by

issuing a “no asset” discharge. See id.; see also Ex. E, Order of Discharge, In re Christine A.

Kinderdine, No. 3:16-bk-33425, Dkt. No. 12 (S.D. Ohio Nov. 3, 2016). Summary judgment

based on judicial estoppel is proper based upon Ms. Kinderdine’s affirmative misrepresentation

of the existence of this claim asserted in this Court.

III.   LAW AND ARGUMENT

       A.      Standard of Review

       Summary judgment is appropriate where the evidence demonstrates that no genuine issue

of material fact exists and the moving party is entitled to judgment as a matter of law. See FED.

R. CIV. P. 56(a); QBE Ins. Corp. v. Brown & Mitchell, Inc., 591 F.3d 439, 442 (5th Cir. 2009).

The moving party bears the initial burden of informing the district court of the basis for its

motion, and identifying those portions of the record which it believes demonstrate the absence of

a genuine issue of material fact. Millet v. Huntington Ingalls Inc., No. CIV.A. 13-0934, 2014

WL 5018029, at *1 (E.D. La. Oct. 7, 2014). Once the movant has satisfied its burden, the burden

shifts to the nonmoving party to show that a genuine dispute does, in fact, exist. A party raises a

genuine issue of material fact with respect to a claim only if a reasonable jury could return a

verdict for the nonmoving party. Id. Although the court must draw all reasonable inferences in

favor of the non-movant, the nonmoving party cannot survive a motion for summary judgment

by resting on conclusory allegations, unsubstantiated assertions, or the mere existence of a

scintilla of evidence. Id.




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         B.     Ms. Kinderdine’s failure to disclose her claim against Accord in her
                bankruptcy Petition judicially estops her from bringing her claim
                against Accord.

         Ms. Kinderdine’s failure to comply with her statutory duty in disclosing her claim against

Accord in her bankruptcy Petition is tantamount to a representation that no such claim existed.

See In re Superior Crewboats, 374 F.3d 330, 335 (5th Cir. 2004). Accordingly, she should be

judicially estopped from pursing her case in this Court. Judicial estoppel is a common law

doctrine intended to prevent litigants from playing “fast and loose” with the courts by assuming

inconsistent positions in different proceedings. In re Coastal Plains, 179 F.3d 197, 206 (5th Cir.

1999).    Judicial estoppel is especially important in the context of bankruptcy cases.        The

bankruptcy system depends on full and honest disclosure by debtors of all their assets. Without

full disclosure, the interests of creditors and the bankruptcy court are impaired. Id. at 208; see

also Jethroe v. Omnova Sols., Inc., 412 F.3d 598, 600 (5th Cir. 2005).

         When a debtor fails to disclose a potential cause of action during the bankruptcy

proceedings, he or she may be estopped from asserting that claim in subsequent litigation. The

Fifth Circuit requires a defendant seeking to judicially estop a plaintiff based on the failure to

disclose a claim to the bankruptcy court to show that 1) the plaintiff had a duty but failed to

disclose the claim or lawsuit during the pendency of the bankruptcy; 2) the position of the party

against which estoppel is sought is plainly inconsistent with its prior legal position; 3) the party

against which estoppel is sought convinced a court to accept the prior position; and 4) the party

did not act inadvertently. Jethroe, 412 F.3d at 600; In re Superior Crewboats, Inc., 374 F.3d at

335; In re Flugence, 738 F.3d 126, 129 (5th Cir. 2013); Allen v. C & H Distributors, L.L.C., 813

F.3d 566, 572 (5th Cir. 2015). All four requirements are met here such that Plaintiffs are

estopped from bringing their claim against Accord.



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               1.      Ms. Kinderdine failed to fulfill her statutory duty to disclose all
                       assets to the Bankruptcy Court by omitting her alleged claim
                       against Accord from her Petition.

       The federal bankruptcy code 11 U.S.C. § 521(1) imposes an express, affirmative duty to

disclose all assets, including contingent and unliquidated claims. The Fifth Circuit has

recognized that this includes all of the debtor’s “known” potential causes of action. In re

Coastal Plains, Inc., 179 F.3d at 207–08 (citing Youngblood Group v. Lufkin Fed. Sav. & Loan

Ass'n, 932 F. Supp. 859, 867 (E.D. Tex. 1996)). The debtor need not know of all of the facts or

even the legal basis for the cause of action. If the debtor has enough information to suggest that

he or she may have a possible claim, then it is a “known” cause of action that must be disclosed.

Id. If a debtor disregards this duty and omits a known potential cause of action from the

bankruptcy filings, or fails to amend bankruptcy filings, the debtor may be judicially estopped

from later asserting the claim. Jethroe, 412 F.3d at 600.

       Under clear Fifth Circuit precedent, the duty to disclose known claims in bankruptcy

proceedings is an ongoing one. Allen, 813 F.3d at 573; Jethroe, 412 F.3d at 600; see also

Kamont v. West, 83 F. App'x 1, 2 (5th Cir. 2003) (explaining that the debtor triggered his duty to

disclose by filing a claim against the defendant during the pendency of his bankruptcy). The

Fifth Circuit recently addressed this issue in a case nearly identical to Ms. Kinderdine’s. In

Allen, the debtors filed for bankruptcy and then subsequently filed a personal injury lawsuit

during the pendency of the bankruptcy. Allen, 813 F.3d at 570. The Fifth Circuit affirmed the

trial court’s dismissal of the plaintiffs’ claims at the summary judgment stage on the grounds that

the debtors never disclosed their claims in the amendments despite their “continuing obligation

to disclose post-petition causes of action.” Id. at 573.

       The Fifth Circuit reached the same result in Jethroe and Kamont. In Jethroe, the court

affirmed summary judgment based on judicial estoppel on the grounds that debtor failed to

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disclose pending and unliquidated claims in her bankruptcy proceedings. Jethroe, 412 F.3d. at

600. And in Kamont, the court held that debtor’s failure to list claims in her bankruptcy petition

judicially estopped her from subsequently asserting them. Kamont, 83 F. App’x at 3.

         Here, Ms. Kinderdine not only presumably knew of her potential claim against Accord at

the time of filing her bankruptcy Petition, but she also brought these allegations to fruition by

filing a complaint during the pendency of her bankruptcy proceeding. In the fall of 2016, Ms.

Kinderdine and her father began investigating her case upon seeing a lawyer advertisement for

Taxotere®/docetaxel lawsuit. Ex. B, Kinderdine Dep. Tr. 12-21. She consulted with and

retained legal counsel. Ex. B, Kinderdine Dep. Tr. 24:1-12. At this point, Ms. Kinderdine

believed a potential cause of action existed. Yet when she filed her bankruptcy Petition on

November 3, 2016, she did not disclose her potential claim against Accord as a contingent claim.

See Ex. C, Bankruptcy Petition at 14. Moreover, after she filed her lawsuit against Accord, she

remained silent with the bankruptcy court by failing to amend her Petition.           See Ex. D,

Bankruptcy Docket, In re Christine A. Kinderdine, No. 3:16-bk-33425 (S.D. Ohio Nov. 3, 2016).

This led the bankruptcy court to discharge her bankruptcy proceeding without knowledge of her

claim against Accord. Without question, Ms. Kinderdine knew of her alleged claim before the

Bankruptcy Court discharged her case but disregarded her statutory duty to disclose under

11 U.S.C. § 521(1).

                2.     Ms. Kinderdine now attempts to pursue the very claim she
                       previously represented did not exist.

         Ms. Kinderdine omitted her alleged claim against Accord from her sworn bankruptcy

Petition and never amended her Petition to include the claim after filing the instant action. By

omitting her claim, Ms. Kinderdine affirmatively misrepresented its existence to the Bankruptcy

Court.    See In re Superior Crewboats, 374 F.3d at 335; see also Allen, 813 F.3d at 572


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(explaining that plaintiffs’ failure to disclose a personal injury claim was an implicit

representation that no such claim existed). Now, Ms. Kinderdine seeks monetary compensation

based on this very same “non-existent” claim.         Such blatant inconsistent positions readily

satisfies the second prong of the judicial estoppel inquiry.

               3.      The Bankruptcy Court accepted Ms. Kinderdine’s
                       misrepresentation by issuing a “no asset” discharge.

       By omitting the possibility of the instant action, the Bankruptcy Court remained

uninformed of the claim throughout the pendency of Ms. Kinderdine’s bankruptcy proceeding.

As a result, the Bankruptcy Court closed Ms. Kinderdine’s case and issued a “no asset”

discharge. See Ex. D, Bankruptcy Docket. A bankruptcy court issuing a “no asset” discharge is

equivalent to adopting the debtor’s position regarding potential claims.           In re Superior

Crewboats, 374 F.3d at 335; Allen, 813 F.3d at 572 (finding that the debtor’s omission of the

personal injury claim from the petition led the bankruptcy court to accept the position that no

such claim existed). To this end, the third prong is satisfied.

               4.      Since Ms. Kinderdine filed the alleged claim against Accord
                       during the pendency of her bankruptcy, her omission from the
                       Petition was not inadvertent.

       In bankruptcy cases, a debtor’s failure to satisfy his or her statutory duty is “inadvertent”

when the debtor either lacks knowledge of the undisclosed claims or has no motive for their

concealment. In re Coastal Plains, 179 F.3d at 210; Jethro, 412 F.3d at 600-01. Under Fifth

Circuit law, the debtor “lacks knowledge” of an undisclosed claim only where he or she is

unaware of the facts giving rise to the potential cause of action. Allen, 813 F.3d at 573. A lack

of awareness of the statutory duty to disclose is not relevant to the question of judicial estoppel.

Kamont, 83 F. App’x at 3 (explaining that the debtor must prove she was unaware of the facts

giving rise to her claim and not of her duty to report her claim). Presumably, Ms. Kinderdine


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was aware of her potential claim against Accord before the filing of her Petition, but certainly

knew of it during the pendency of her bankruptcy, after filing the Complaint against Accord. See

Compl., Dkt. No. 1.

       Ms. Kinderdine’s affirmative misrepresentation of the existence of her alleged claim

prevented the claim from becoming property of the Bankruptcy Court. If successful in seeking

compensatory damages per the Complaint filed in this Court, Ms. Kinderdine stands to reap a

financial windfall that she would not have been able to recover had she fulfilled her statutory

duty of disclosure. A debtor possesses the requisite motivation to conceal if omitting the claim

would allow him or her to recover on the undisclosed claim without having disclosed it to

creditors. In re Superior Crewboats, 374 F.3d at 336. The Eastern District of Louisiana has held

that the potential benefit resulting from nondisclosure provides a motive. In re Vioxx Prod. Liab.

Litig., 889 F. Supp. 2d 857, 861 (E.D. La. 2012). Thus, the final element is satisfied.

       C.      Jim Kinderdine’s loss of consortium claim must fail as a matter of law
               because there is no viable underlying claim.

       As Ms. Kinderdine is judicially estopped from bringing a claim against Accord, Jim

Kinderdine’s claim (see Short Form Compl. ¶ 2, Dkt. No. 5) likewise fails. Mr. Kinderdine’s

alleged loss of consortium is derivative of Ms. Kinderdine’s claim and entirely dependent on the

success of the underlying claim. See Bowen v. Kil-Kare, Inc., 585 N.E.2d 384, 392 (Ohio 1992);

see also Keller v. Foster Wheel Energy Corp., 837 N.E.2d 859, 863–64 (Ohio Ct. App. 2005)

(explaining that a loss of consortium is a derivative claim that fails when the primary claim

fails). Since, as discussed above, Ms. Kinderdine’s underlying claim fails, Mr. Kinderdine’s loss

of consortium claim must also fail as a matter of law. See Mender v. Vill. of Chauncey, 41

N.E.3d 1289, 1301 (Ohio Ct. App. 2015) (affirming trial court’s dismissal of loss of consortium

claim after granted directed verdict on primary claims because “[a] derivative claim cannot


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afford greater relief than that relief permitted under a primary claim; a derivative claim fails

when the primary claim fails”).

IV.    CONCLUSION

       For the reasons as detailed above, Accord Healthcare, Inc. respectfully requests that this

Court grant its Motion for Summary Judgment Based Upon Bankruptcy Judicial Estoppel and

dismiss this claim in its entirety with prejudice.

Date: July 20, 2018                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby that on this 20th day July, 2018, a true and correct copy of the Brief in Support of

Defendant Accord Healthcare, Inc.’s Motion for Summary Judgment Based Upon Judicial

Estoppel was served upon the following through the Court’s ECF filing system:

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